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                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

In Re:                                                Chapter 13

Ashia Latrail Douglas,                                Case No. 18-71487-JWC
                               Debtor.


Nationstar Mortgage LLC d/b/a Mr. Cooper

                                                      Contested Matter
                               Movant,

V.

Ashia Latrail Douglas aka Asheia Thomas,
Debtor, and Nancy J. Whaley, Chapter 13
Trustee,

                               Respondents.


                             OBJECTION TO CONFIRMATION

         COMES NOW, Nationstar Mortgage LLC d/b/a Mr. Cooper, its successors or assigns,

(hereinafter referred to as “Creditor”), who holds a secured lien on the Debtor’s real property

known as 6075 Centennial Run, College Park, GA 30349 (hereinafter the “Property”), and files

this Objection to Confirmation of Plan.

         Creditor holds a secured claim with an unpaid principal balance of approximately

$91,330.36, including pre-petition arrears of approximately $10,584.85, which represents four

(4) months of non-payment and prepetition fees. Debtor’s Chapter 13 Plan (hereinafter “Plan”)

lists the total pre-petition arrears owed to Creditor as $9,000.00. The arrears listed in the Plan

underestimate Creditor’s pre-petition arrearage amount. Accordingly, the Chapter 13 Plan fails

to comply with the provisions of 11 U.S.C. § 1325(a).
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       Additionally, Debtor’s plan proposes Debtor will maintain the contractual installment

payments on Movant’s claim. Movant reserves the right to object to confirmation of Debtor’s

Chapter 13 Plan if Debtor fails to make ongoing direct post-petition mortgage payments.

       WHEREFORE, Creditor prays that this Court inquire into the matters raised herein and

deny confirmation of the Plan, or enter such an order that the Court deems just and proper.

Date: January 3, 2019

                                                    Shapiro Pendergast & Hasty, LLP


                                                    /s/Taylor S. Mansell________________
                                                    Taylor S. Mansell
                                                    Georgia Bar No. 940461
                                                    211 Perimeter Center Parkway, N.E.
                                                    Suite 300
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                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In Re:                                                 Chapter 13

Ashia Latrail Douglas also known as Asheia             Case No. 18-71487-JWC
Thomas,
                          DEBTOR.


Nationstar Mortgage LLC d/b/a Mr. Cooper,
its successors or assigns,
                           MOVANT,                     Contested Matter

V.

Ashia Latrail Douglas also known as Asheia
Thomas, Debtor, and Nancy J. Whaley,
Chapter 13 Trustee,

                            RESPONDENTS.

                                   CERTIFICATE OF SERVICE

         I certify that I am over the age of 18 and that on January 3, 2019, a copy of the foregoing

Objection to Confirmation was served by first class U.S. Mail, with adequate postage prepaid, on

the following persons or entities at the addresses stated below:

Ashia Latrail Douglas
6075 Centennial Run
College Park, GA 30349

Howard P. Slomka
Slipakoff & Slomka, PC
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339

Nancy J. Whaley
Standing Chapter 13 Trustee
303 Peachtree Center Avenue
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303
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Dated January 3, 2019                          Shapiro Pendergast & Hasty, LLP


                                               /s/Taylor S. Mansell_______
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